Case 3:21-cv-14402-FLW-TJB Document 18 Filed 09/12/22 Page 1 of 7 PageID: 144




                                 UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY
                                                 (609) 989-2182

         CHAMBERS OF                                                             Clarkson S. Fisher Federal
    FREDA L. WOLFSON                                                            Building & U.S. Courthouse
         CHIEF JUDGE                                                                402 East State Street
                                                                                Trenton, New Jersey 08608



                                            LETTER ORDER

                                                                               September 12, 2022

Alina Habba, Esq.
Habba Madaio & Associates LLP
1431 U.S. Highway 206, Suite 240
Bedminster, New Jersey 07921

Joseph N. Froehlich, Esq.
Locke Lord LLP
Brookfield Place
200 Vesey Street
20th Floor
New York, New York 10281

                 RE:      Caesar DePaco v. SIC Noticias, et al.
                          Civ. Action No. 21-14402 (FLW)

Counsel:

        In this tort action, Defendants, SIC Noticias, Sociedade Independente de Comunicação
S.A. (“SIC S.A.”), Impresa Sociedade Gestora de Participações Sociais S.A. (“Impresa SGPS”),
Pedro Coelho (“Coelho”), Ricardo Costa (“Costa”), and Marta Reis (“Reis”) (collectively, the
“Moving Defendants”), move to dismiss the Amended Complaint filed by Plaintiff, Caesar DePaco
(“DePaco” or “Plaintiff”), for, among other things, lack of personal jurisdiction. 1 For the reasons
that follow, the Moving Defendants’ motion is GRANTED; Plaintiff’s claims are dismissed
without prejudice.

    I.   BACKGROUND

      The following facts are derived from Plaintiff’s Amended Complaint (ECF No. 12 (“Am.
Compl.”)) and presumed to be true for purposes of the instant motion.


1
  This case was originally assigned to Hon. Anne E. Thompson, U.S.D.J., and on April 19, 2022, it was reassigned to
this Court. ECF No. 16.

                                                        1
Case 3:21-cv-14402-FLW-TJB Document 18 Filed 09/12/22 Page 2 of 7 PageID: 145




         A.       Factual Background and Procedural History

        This action arises out of allegedly defamatory statements made about Plaintiff in a
Portuguese article and documentary television series. Between approximately January 2021 and
April 2021, Defendant SIC Noticias, a foreign corporate entity with its principal place of business
in Portugal, broadcasted or otherwise distributed three episodes of a five-part documentary series
titled “The Great Illusion” (the “Episodes”). Id. ¶¶ 2, 15-19. On April 12, 2021, SIC Noticias
published and/or disseminated an article titled “Who Are You, Caesar?” (the “Article”). Id. ¶ 38.
The Episodes and Article are credited to Defendant Coehlo, a journalist, employee, and/or agent
of SIC Noticias, Impresa SGPS, non-moving Defendant SPT TV (“SPT”), and/or non-moving
Defendant Seabra Portuguese Television (“Seabra”). 2 Id. ¶¶ 7, 20, 38. Defendants Costa and Reis
are directors, employees, and/or agents of the same entities. Id. ¶¶ 8-9. All three individuals are
citizens of Portugal. Id. ¶¶ 7-8. Defendants SIC S.A. and Impresa SGPS, foreign corporate entities
with their principal places of business in Portugal, are both owners or parent companies of SIC
Noticias. Id. ¶¶ 3-4.

        Plaintiff, a New Jersey resident, alleges that the Episodes and Article contained numerous
defamatory statements about him. Id. ¶¶ 1, 22, 40. Specifically, Plaintiff claims the Episodes
falsely stated, among other things, that Plaintiff is a “key player,” a “sympathizer or supporter,”
and the “main financier” of Chega!, which Plaintiff explains is “a far-right political party” in
Portugal “that is widely considered to hold xenophobic and racist views.” Id. ¶¶ 19, 22. He further
alleges that the Episodes “[i]insinuat[ed] that Plaintiff should have been found guilty of theft
and/or robbery” during a 1989 trial. Id. ¶ 22. In addition, Plaintiff asserts that “[t]he Article
depicted Plaintiff in an untrue, derogatory and defamatory manner as an unscrupulous man who
lies about his academic degrees and qualifications.” Id. ¶ 39. Plaintiff alleges that Defendants
disseminated, broadcasted, and/or published the challenged statements in the Episodes and Article
knowingly or with reckless disregard for the truth, and that as a direct and/or proximate result of
Defendants’ actions, Plaintiff suffered substantial harm, including, but not limited to, “dismissal
from his position as Honorary Consul of Cape Verde, tarnished reputation, economic injury, loss
of economic advantage, loss of profits, depiction in a false light and damage to public image.” Id.
¶¶ 45-47.

        On August 9, 2021, Plaintiff filed an Amended Complaint asserting claims of defamation
and defamation per se (Count I); false light (“Count II”); tortious interference with prospective
economic advantage (“Count III”); libel and libel per se (“Count IV”); and slander and slander per
se (“Count V”). See generally Am. Compl. On February 17, 2022, the Moving Defendants filed a
Motion to Dismiss the Amended Complaint (“Def. Mot.”) with prejudice for, among other things,
lack of personal jurisdiction. ECF No. 12-1. Plaintiff filed a Brief in Opposition to the Moving



2
 Non-moving Defendants SPT and Seabra are foreign corporate entities with their principal places of business in
Portugal. Am. Compl. ¶¶ 5-6. These Defendants appear to have been served, ECF Nos. 4 & 5, but they have neither
answered the Amended Complaint nor had counsel enter an appearance on their behalf. While Plaintiff may move for
default against these Defendants, Plaintiff must bear in mind that if the Court lacks personal jurisdiction over the non-
moving Defendants, the Court cannot enter judgment against them. In addition, if Plaintiff does not move within the
appropriate time, this action may be dismissed against the non-moving Defendants for failure to prosecute. See Fed.
R. Civ. P. 41(b).

                                                           2
Case 3:21-cv-14402-FLW-TJB Document 18 Filed 09/12/22 Page 3 of 7 PageID: 146




Defendants’ Motion to Dismiss (“Pl. Opp’n”) on April 11, 2022. ECF No. 15. On May 9, 2022,
the Moving Defendants filed their reply brief (“Def. Reply”). ECF No. 17.

       B.      Companion Case

        In 2021, Plaintiff brought a similar action in this Court against a different group of
Portuguese corporations and individuals (the “Companion Case”). See DePaco v. Cofina Media,
SA, No. 21 14409, 2022 WL 3646616 (D.N.J. Aug. 24, 2022). There, as here, Plaintiff alleged that
the defendants published an article containing numerous false and defamatory statements about
him, including that “he is the ‘main financier’ of the Chega! Party,” that he “is a ‘sympathizer or
supporter’ of Chega,” and that he “engages in criminal activity.” Id. at *1. By Opinion and Order
dated August 24, 2022, this Court granted the defendants’ motion to dismiss the Companion Case
for lack of personal jurisdiction. Id. at *6. The Court found no basis for exercising specific personal
jurisdiction over the nonresident defendants because Plaintiff “failed to show specific activity
indicating that Defendants ‘expressly aimed’ their allegedly tortious conduct at the forum state of
New Jersey” in accordance with “the ‘effects test’ set forth in” Calder v. Jones, 465 U.S. 783
(1984). Id. at *5.

 II.   LEGAL STANDARD

       On a motion to dismiss for lack of personal jurisdiction under Federal Rule of Civil
Procedure 12(b)(2), “the plaintiff bears the burden of demonstrating the facts that establish
personal jurisdiction” over the moving defendants. Pinker v. Roche Holdings Ltd., 292 F.3d 361,
368 (3d Cir. 2002). In order “[t]o meet that burden, [plaintiff] must ‘establish[ ] jurisdictional facts
through sworn affidavits or other competent evidence.’ ” Cerciello v. Canale, 563 F. App’x 924,
925 n.1 (3d Cir. 2014) (quoting Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 101 n.6 (3d Cir.
2004)). “Once the plaintiff has shown minimum contacts, the burden shifts to the defendant, who
must show that the assertion of jurisdiction would be unreasonable.” Ameripay, LLC v. Ameripay
Payroll, Ltd., 334 F. Supp. 2d 629, 633 (D.N.J. 2004) (citing Mellon Bank (East) PSFS v. Farino,
960 F.2d 1217, 1226 (3d Cir. 1992)).

        “[W]hen the court does not hold an evidentiary hearing on the motion to dismiss, the
plaintiff need only establish a prima facie case of personal jurisdiction and the plaintiff is entitled
to have its allegations taken as true and all factual disputes drawn in its favor.” Miller Yacht Sales,
Inc., 384 F.3d at 97; see Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 457 (3d Cir. 2003);
Murphy v. Eisai, Inc., 503 F. Supp. 3d 207, 213 (D.N.J. 2020). Still, the plaintiff “ ‘bears the
burden to prove, by a preponderance of the evidence,’ that personal jurisdiction is proper.”
Cerciello, 563 F. App’x at 925 n.1 (quoting Carteret Sav. Bank, FA v. Shushan, 954 F.2d 141, 146
(3d Cir. 1992)).

III.   DISCUSSION

        The Moving Defendants argue that the Amended Complaint should be dismissed for,
among other things, lack of personal jurisdiction. Def. Mot. at 15–21. In opposition, Plaintiff
contends that personal jurisdiction is proper because the Moving Defendants committed intentional
torts against a New Jersey resident with foreseeable effects in that forum. Pl. Opp’n at 8-14. In the
alternative, Plaintiff requests jurisdictional discovery. Pl. Opp’n at 14–15. As in the Companion

                                                   3
Case 3:21-cv-14402-FLW-TJB Document 18 Filed 09/12/22 Page 4 of 7 PageID: 147




Case, I find that this Court lacks personal jurisdiction over the Moving Defendants because they
did not expressly aim their tortious conduct at New Jersey. Jurisdictional discovery is also not
warranted here, because the Amended Complaint fails to set forth reasonably particularized
allegations indicating the possibility that the Moving Defendants have sufficient minimum
contacts with the forum state.

       A.      Personal Jurisdiction

        “A federal court sitting in New Jersey has jurisdiction over parties to the extent provided
under New Jersey state law.” Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 96 (3d Cir. 2004)
(citing Fed. R. Civ. P. 4(e)). “[T]he New Jersey long-arm statute permits the exercise of personal
jurisdiction to the fullest limits of due process.” IMO Indus., Inc. v. Kiekert AG, 155 F.3d 254, 259
(3d Cir. 1998) (citations omitted). “Personal jurisdiction under the Due Process Clause depends
upon the relationship among the defendant, the forum, and the litigation.” Id. (internal quotation
marks and citation omitted). “There are two distinct theories under which personal jurisdiction can
arise: general and specific.” Allaham v. Naddaf, 635 F. App’x. 32, 37–38 (3d Cir. 2015) (citing
Grimes v. Vitalink Commc’ns Corp., 17 F.3d 1553, 1559 (3d Cir. 1994)). Here, Plaintiff only
contends that specific jurisdiction exists over the Moving Defendants. Pl. Opp’n at 10.

        Specific jurisdiction exists over a non-resident defendant where the plaintiff’s claim
“aris[es] out of or relate[s] to the defendant’s contacts with the forum.” Daimler AG v. Bauman,
571 U.S. 117, 127 (2014) (quoting Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.
408, 414, n.8 (1984)). Where, as here, a plaintiff claims to be the target of an out-of-state
defendant’s allegedly tortious activity, the court’s specific jurisdiction inquiry is governed by the
“effects test” set forth in Calder, 465 U.S. at 783. See Remick v. Manfredy, 238 F.3d 248, 258 (3d
Cir. 2001) (“[T]he Supreme Court set forth the ‘effects test’ for determining personal jurisdiction
over nonresident defendants who allegedly committed an intentional tort outside the forum.”). In
Calder, an entertainer residing in California brought a lawsuit for libel against the author and the
editor of an article published in the National Enquirer. 465 U.S. at 785–86. Both defendants were
residents of Florida. Id. The Supreme Court held that the defendants could “reasonably anticipate
being haled into court” in California because of the “effects” of their conduct in California—
namely, the “potentially devasting impact” upon the plaintiff “in the State in which she lives and
works and in which the National Enquirer has its largest circulation.” Id. at 789–90; see also
Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 772–74 (1984) (finding federal court in New
Hampshire could exercise personal jurisdiction over nonresident defendant in libel suit where
defendant's “contacts with New Hampshire consist of the sale of some 10 to 15,000 copies of
Hustler magazine in that State each month”).

        Under the “effects test,” the Third Circuit has held that the plaintiff must show: “(1) The
defendant committed an intentional tort; (2) The plaintiff felt the brunt of the harm in the forum
such that the forum can be said to be the focal point of the harm suffered by the plaintiff as a result
of that tort; [and] (3) The defendant expressly aimed his tortious conduct at the forum such that
the forum can be said to be the focal point of the tortious activity.” IMO Indus., Inc., 155 F.3d at
265–66. Only if the “expressly aimed” element of the test is satisfied will the court consider the
other two elements. See Marten v. Godwin, 499 F.3d 290, 297 (3d Cir. 2007) (citing IMO Indus.,
155 F.3d at 266). A defendant's conduct is “expressly aimed” at the relevant forum if a plaintiff
can demonstrate “the defendant knew that the plaintiff would suffer the brunt of the harm caused

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Case 3:21-cv-14402-FLW-TJB Document 18 Filed 09/12/22 Page 5 of 7 PageID: 148




by the tortious conduct in the forum, and point to specific activity indicating that the defendant
expressly aimed its tortious conduct at the forum.” Id. at 298 (quoting IMO Indus., 155 F.3d at
266). While “a plaintiff's residence is relevant to the ‘jurisdictional inquiry,’ ” “the state of a
plaintiff's residence does not on its own create jurisdiction over nonresident defendants.” Id.
“Jurisdiction is proper when the state of a plaintiff's residence is ‘the focus of the activities of the
defendant out of which the suit arises.’ ” Id. (quoting Keeton, 465 U.S. at 780).

        Here, similar to the Companion Case, Plaintiff argues that personal jurisdiction is proper
under Calder because (1) the Moving Defendants published the allegedly defamatory statements
with full knowledge that Plaintiff is a New Jersey resident, (2) the Moving Defendants made the
Episodes “widely available” and published the Article online and in print “knowing and intending”
that it would be read in New Jersey, and (3) New Jersey has a notable population of
Portuguese-Americans who may be a potential audience for the allegedly defamatory
publications. 3 Pl. Opp’n at 11-14. While Plaintiff need only establish a prima facie case of
personal jurisdiction, Miller Yacht Sales, Inc., 384 F.3d at 97, these bare allegations do not amount
to “specific activity indicating that [Defendants] expressly aimed their tortious conduct at [New
Jersey].” Marten, 499 F.3d at 298.

        First, Plaintiff’s contention that he “is a resident of New Jersey and Defendant published
the defamatory information while being fully aware of Plaintiff’s residence” is insufficient to
confer personal jurisdiction. Pl. Opp’n at 11. As noted above, although Plaintiff’s residence in the
forum state is relevant to the jurisdictional inquiry, it is not, standing alone, a sufficient basis for
exercising jurisdiction over the nonresident Moving Defendants. See Marten, 499 F.3d at 298; see
also Walden v. Fiore, 571 U.S. 277, 284 (2014) (“mere injury to a forum resident is not a sufficient
connection to the forum”). Nor is Plaintiff’s bald assertion that Defendants were aware of
Plaintiff’s state of residence sufficient to “demonstrate that [Defendants] expressly aimed [their]
tortious conduct at the forum.” IMO Indus., 155 F.3d at 265 (emphasis in original).

        Plaintiff’s assertions that the corporate Defendants generally do business in New Jersey,
and that New Jersey’s population of Portuguese-Americans potentially creates “a substantial base
for readership” of the allegedly defamatory materials in the forum, are similarly unavailing. Pl.
Opp’n at 11–12; Am. Compl. ¶¶ 2-6. First, Plaintiff did not include any allegations about New
Jersey’s Portuguese-American population in the Amended Complaint, and it is well-established
that a party may not amend a complaint in an opposition to a motion to dismiss. Com. of Pa. ex
rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) (“‘[I]t is axiomatic that the
complaint may not be amended by the briefs in opposition to a motion to dismiss.’”) (alteration in
original) (quoting Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th Cir.1984)).
Second, and in any event, these conclusory allegations do not identify any specific activity
indicating that the Moving Defendants targeted New Jersey. Plaintiff does not allege that the
Moving Defendants actively disseminate the challenged materials in New Jersey or conduct any
specific business in New Jersey. To the contrary, the Moving Defendants are corporate entities
and individuals based in Portugal. Am. Compl. ¶¶ 2-4, 7-9. Unlike both Calder and Keeton, where
the forum states hosted a significant, purposeful circulation of the defendants’ publications, the
record here is devoid of evidence that demonstrates the Moving Defendants have any purposeful

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 The Court analyzes Counts I-V in tandem for personal jurisdiction purposes as the same allegedly tortious acts
underly all of Plaintiff’s claims. Am. Compl. ¶¶ 48-92.

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Case 3:21-cv-14402-FLW-TJB Document 18 Filed 09/12/22 Page 6 of 7 PageID: 149




interaction with the State of New Jersey through their broadcasts, article publications, or otherwise.
Cf. Calder, 465 U.S. at 788–80; Keeton, 465 U.S. at 772–74. That the Episodes and Article may
have been viewed or read by others in New Jersey does not alter this conclusion. See Remick, 238
F.3d at 259 (holding that allegedly defamatory letter read by individuals in the relevant forum state
was not “targeted at them” or the forum state).

        Finally, to the extent Plaintiff argues in his opposition that publication of the Article online
supports a finding of jurisdiction, that argument is unpersuasive. The Third Circuit has repeatedly
recognized that “the mere operation of a commercially available [worldwide] web site should not
subject the operator to jurisdiction anywhere in the world.” Rocke v. Pebble Beach Co., 541 F.
App’x 208, 211 (3d Cir. 2013) (quoting Toys “R” US, Inc., 318 F.3d at 452–53). Instead, there
must be evidence that the defendant “directly target[ed] its web site to the state, knowingly
interacting with residents of the forum state via its website.” Id. (quoting Toys “R” US, Inc., 318
F.3d at 452–53). The Amended Complaint contains no allegation that the Moving Defendants
directly targeted any website publication to New Jersey. Moreover, as this Court explained in the
Companion Case, Plaintiff’s suggestion that New Jersey has a large Portuguese-American
population who may access the allegedly defamatory materials is of “no jurisdictional
significance.” DePaco, No. 21-14409, 2022 WL 3646616, at *5 (D.N.J. Aug. 24, 2022)
(“Although the Portuguese-Americans in New Jersey may have access to the Sabado website,
Plaintiff does not allege that Defendants knowingly interact with the Portuguese-American
population in New Jersey via the Sabado website; rather, Plaintiff simply points out the existence
of this group of people in the state.”) Because Plaintiff has not shown that New Jersey was “the
focal point of the tortious activity,” and any harm occurring there was “merely incidental,” the
Court cannot exercise personal jurisdiction over the Moving Defendants. Remick, 238 F.3d at 259;
see Scott v. Lackey, 587 F. App’x 712, 716 (3d Cir. 2014) (“Even in the context of an intentional
tort, random, fortuitous, or attenuated contacts or the unilateral activity of a plaintiff do not
establish a basis for personal jurisdiction.”) (internal quotation marks and citation omitted).

        As Plaintiff has failed to show specific activity indicating that Defendants “expressly
aimed” their allegedly tortious conduct at the forum state of New Jersey, Plaintiff cannot satisfy
the “effects test” set forth in Calder. See Marten, 499 F.3d at 299.

       B.      Jurisdictional Discovery Is Not Warranted

      In the alternative, Plaintiff seeks jurisdictional discovery to establish the “non-Internet
minimum contacts existing between Defendants and New Jersey” and, in particular, to show “how
many of the more than 77,000 Portuguese American residents of New Jersey subscribed” to the
Moving Defendants’ magazine. Pl. Opp’n at 15. The Court denies this request.

        “Jurisdictional discovery may be permitted when the existing record is inadequate to
support personal jurisdiction and a party demonstrates that it can supplement its jurisdictional
allegations through discovery.” Senju Pharmaceutical Co., Ltd. v. Metrics, Inc., 96 F. Supp. 3d
428, 435 (D.N.J. 2015) (internal quotation marks omitted). “A grant of jurisdictional discovery
lies within a district court's discretion,” Murphy, 503 F. Supp. 3d at 225, and “should be sustained
when factual allegations suggest the possible existence of requisite contacts between the defendant
and the forum state with ‘reasonable particularity’ ” Senju Pharmaceutical, 96 F. Supp. 3d at 435
(citing Mellon Bank (East) PSFS, Nat. Ass’n v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992)).

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Case 3:21-cv-14402-FLW-TJB Document 18 Filed 09/12/22 Page 7 of 7 PageID: 150




        Here, Plaintiff has failed to set forth reasonably particularized allegations suggesting the
possible existence of sufficient contacts between the Moving Defendants and New Jersey. The
Amended Complaint makes no mention, for example, of the Moving Defendants disseminating
the defamatory materials in New Jersey or targeting New Jersey residents, and is otherwise devoid
of any allegations “which, if explored, might provide the ‘something more’ needed to bring
[Defendants] within [its] jurisdiction.” Cf. Toys “R” Us, Inc., 318 F.3d at 456 (citation and internal
quotation marks omitted). Accordingly, Plaintiff’s request for jurisdictional discovery is denied. 4

IV.     CONCLUSION

        For the reasons set forth above, the Moving Defendants’ Motion to Dismiss is GRANTED.



                                                            /s/ Freda L. Wolfson
                                                            Freda L. Wolfson
                                                            U.S. Chief District Judge




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 Because the Amended Complaint must be dismissed for lack of personal jurisdiction, the Court need not reach the
parties’ remaining contentions.

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